      Case: 23-90013    Document: 14        Page: 1   Date Filed: 05/16/2023




                                No. 23-90013
                UNITED STATES COURT OF APPEALS
                         FIFTH CIRCUIT

            In the Matter of Highland Capital Management, L.P.,
                                   Debtor.
               NEXPOINT ADVISORS, L.P. and
    HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS, L.P.,
                                 Petitioners

                                       v.

             HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                 Respondent
             On Appeal from the United States Bankruptcy Court
              for the Northern District of Texas, Dallas Division
                     Bankruptcy Case No. 19-34054-sgj11

              Appeal Pending in the United States District Court
              for the Northern District of Texas, Dallas Division
                          Case No. 3:23-cv-00573-E
                   RESPONDENT’S BANKRUPTCY
                CREDITOR DISCLOSURE STATEMENT

PACHULSKI STANG ZIEHL & JONES LLP           HAYWARD PLLC
Jeffrey N. Pomerantz                        Melissa S. Hayward
John A. Morris                              Zachery Z. Annable
Gregory V. Demo                             10501 N. Central Expy, Ste. 106
Hayley R. Winograd                          Dallas, Texas 75231
10100 Santa Monica Blvd., 13th Floor        (972) 755-7100
Los Angeles, CA 90067
(310) 277-6910

                           Counsel for Respondent
           Case: 23-90013    Document: 14        Page: 2   Date Filed: 05/16/2023




            BANKRUPTCY CREDITOR DISCLOSURE STATEMENT

Respondent submits the following information:

1.      The Debtor:

        Highland Capital Management, L.P.

2.      The members of the creditors’ committee:

        N/A (creditors’ committee dissolved as of Effective Date of Plan)

3.      Any entity that is an active participant in the proceeding before the
        Fifth Circuit:

        Petitioners NexPoint Advisors, L.P. and Highland Capital Management
        Fund Advisors, L.P.

        Respondent Highland Capital Management, L.P.

4.      Any other entity known to the Declarant whose stock or equity value
        could be substantially affected by the outcome of the proceeding:

        None

5.      Counsel to the parties/entities identified in (1) – (4):

        Petitioners NexPoint Advisors, L.P. and Highland Capital Management
        Fund Advisors, L.P.:

        MUNCH HARDT KOPF & HARR, P.C.
        Davor Rukavina
        500 North Akard Street, Suite 3800
        Dallas, TX 75201-6659
        Tel: (214) 855-7500




                                            ii
DOCS_NY:47534.2 36027/003
           Case: 23-90013   Document: 14         Page: 3   Date Filed: 05/16/2023




        Respondent (Debtor) Highland Capital Management, L.P.:

        PACHULSKI STANG ZIEHL & JONES LLP
        Jeffrey N. Pomerantz
        10100 Santa Monica Blvd., 13th Floor
        Los Angeles, CA 90067
        Telephone: (310) 277-6910
        Facsimile: (310) 201-0760

        -and-

        John A. Morris
        Gregory V. Demo
        Hayley R. Winograd
        780 Third Avenue, 34th Floor
        New York NY 10017-2024
        Telephone: (212) 561-7700
        Facsimile: (212) 561-7777

        HAYWARD PLLC
        Melissa S. Hayward
        Zachery Z. Annable
        10501 N. Central Expy, Ste. 106
        Dallas, Texas 75231
        Telephone: (972) 755-7100
        Facsimile: (972) 755-7110


                                                   /s/ Zachery Z. Annable
                                                   Zachery Z. Annable




                                           iii
DOCS_NY:47534.2 36027/003
      Case: 23-90013   Document: 14   Page: 4   Date Filed: 05/16/2023




Date: May 16, 2023        PACHULSKI STANG ZIEHL & JONES LLP
                          Jeffrey N. Pomerantz (CA Bar No. 143717)
                          John A. Morris (NY Bar No. 2405397)
                          Gregory V. Demo (NY Bar No. 5371992)
                          Hayley R. Winograd (NY Bar No. 5612569)
                          10100 Santa Monica Blvd., 13th Floor
                          Los Angeles, CA 90067
                          Tel: (310) 277-6910
                          Email: jpomerantz@pszjlaw.com
                                 jmorris@pszjlaw.com
                                 gdemo@pszjlaw.com
                                 hwinograd@pszjlaw.com
                          -and-
                          HAYWARD PLLC
                          /s/ Zachery Z. Annable
                          Melissa S. Hayward
                          Texas Bar No. 24044908
                          MHayward@HaywardFirm.com
                          Zachery Z. Annable
                          Texas Bar No. 24053075
                          ZAnnable@HaywardFirm.com
                          10501 N. Central Expy, Ste. 106
                          Dallas, Texas 75231
                          Tel: (972) 755-7100
                          Counsel for Respondent
        Case: 23-90013    Document: 14    Page: 5   Date Filed: 05/16/2023




                         CERTIFICATE OF SERVICE

       I certify that, on May 16, 2023, the foregoing disclosure statement was
electronically filed using the appellate CM/ECF system. I further certify that all
participants in this case are registered CM/ECF users and that service will be
accomplished via CM/ECF.

                                     /s/ Zachery Z. Annable
                                     Zachery Z. Annable
